  Case 2:18-cv-03325-MWF-AS Document 40 Filed 03/11/19 Page 1 of 3 Page ID #:186



 1 Joseph Shapiro, #277111
   jshapiro@strongandhanni.com
 2 STRONG & HANNI
   102 South 200 East, Suite 800
 3 Salt Lake City, UT 84111
   Telephone: (801) 532-7080
 4 Facsimile: (801) 596-1508

 5 Attorneys for Defendants

 6

 7

 8                        UNITED STATES DISTRICT COURT

 9         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

10   Amazon Content Services, LLC, et al.,          Case No. 2:18-cv-3325 MWF-AS

11                Plaintiffs,                       CORRECTED MOTION FOR
                                                    WITHDRAWAL OF JOSEPH
12          vs.                                     SHAPIRO AS COUNSEL FOR
                                                    DEFENDANTS
13   Set Broadcast, LLC, et al.,

14                Defendants.

15

16
           Attorney Joseph Shapiro, who currently represents in this case all Defendants,
17
     hereby moves under L.R. 83.2.3.2 to withdraw. Defendants have not paid invoices for
18
     attorney fees for more than five months and are unwilling to make any payment at this
19
     time or to commit to any payment plan. Additionally, relations between Defendants
20

21
                                                1
  Case 2:18-cv-03325-MWF-AS Document 40 Filed 03/11/19 Page 2 of 3 Page ID #:187



 1 and Mr. Shapiro have degraded such that it is no longer feasible for Mr. Shapiro to

 2 represent Defendants in this case.

 3
           This case is currently in discovery. Plaintiffs have filed a motion to compel
 4
     depositions. The only prejudice to Plaintiffs that will result from Mr. Shapiro’s
 5
     withdrawal is a short delay while Defendants find new counsel.
 6
           Notice to Defendant Set Broadcasts, LLC of the consequences of Defendant
 7
     Set Broadcast, LLC’s Inability to Appear Pro Se: Defendant Set Broadcast, LLC
 8
     is hereby notified that if it does not obtain new counsel, the Court will issue an Order
 9
     to Show Cause and, if no counsel appears on its behalf, the Court will strike Defendant
10
     Set Broadcast, LLC’s Answer and order Plaintiffs to proceed to default.
11

12         A proposed order is attached hereto as Exhibit A.

13
         DATED this 11th day of March, 2019.
14

15                                               STRONG & HANNI

16                                               /s/Joseph Shapiro
                                                 Joseph Shapiro
17                                               Attorneys for Defendants

18

19

20

21
                                                  2
 Case 2:18-cv-03325-MWF-AS Document 40 Filed 03/11/19 Page 3 of 3 Page ID #:188



 1

 2                   CERTIFICATION OF SERVICE ON DEFENDANTS
               Joseph Shapiro hereby certifies that the Defendants were served with and
 3
      received notice of the foregoing document on March 11, 2019 as follows:
 4

 5
          Jason Labossiere                       email:1
 6
                                                 jasonlabossiere@mac.com
 7        Nelson Johnson                         certified mail and email:
 8                                               2906 Talon Drive
                                                 Clearwater, FL 33761
 9
                                                 lvx7775@gmail.com
10        Set Broadcast, LLC                     Nelson Johnson (member, Set Broadcast, LLC)
11                                               certified mail and email:
12                                               2906 Talon Drive
                                                 Clearwater, FL 33761
13
                                                 lvx7775@gmail.com
14

15

16

17

18

19    1
        Joseph Shapiro reached out to Jason Labossiere to obtain a physical mailing address but Jason Labossiere did
      not respond. The email address at which Jason Labossiere was served with this document,
20    jasonlabossiere@mac.com, is the email address at which Joseph Shapiro and Jason Labossiere have routinely
      corresponded for the past eight months regarding this case. Joseph Shapiro has received email correspondence
      from jasonlabossiere@mac.com as recently as late February and has no reason to believe that Jason Labossiere is
21    not receiving emails sent to jasonlabossiere@mac.com.
                                                            3
